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                                                              [PUBLISH]
                                    In the
                 United States Court of Appeals
                         For the Eleventh Circuit

                           ____________________

                                 No. 24-10448
                           ____________________

        ANDREW E. ROTH,
                                                       Plaintiﬀ-Appellant,
        versus
        AUSTIN RUSSELL,
        LUMINAR TECHNOLOGIES, INC.,


                                                   Defendants-Appellees.


                           ____________________

                  Appeal from the United States District Court
                       for the Middle District of Florida
                    D.C. Docket No. 6:23-cv-00722-JA-RMN
                           ____________________
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        Before LUCK, LAGOA, and ABUDU, Circuit Judges.
        PER CURIAM:
               Section 16(b) of the Securities Exchange Act of 1934 allows
        a company that issues stock—called the “issuer”—(or a shareholder
        on the issuer’s behalf ) to recover the “proﬁt realized” by the com-
        pany’s “beneﬁcial owner, director, or oﬃcer” from “any sale and
        purchase, of ” company stock “within any period of less than six
        months.” 15 U.S.C. § 78p(b). The question in this case is who must
        sell and purchase the issuer’s stock under section 16(b) for the issuer
        (or a shareholder on its behalf ) to recover realized proﬁts.
                Andrew Roth, a Luminar Technologies, Inc. shareholder,
        claims that under section 16(b) he can recover (on behalf of Lumi-
        nar) realized proﬁts where the company repurchased shares of its
        own stock on the open market. The district court rejected Roth’s
        claim. So has every other federal court that has considered it. See,
        e.g., Roth ex rel. Estee Lauder Cos. v. LAL Fam. Corp. (“LAL Fam. Corp
        II”), No. 24-2464-CV, 2025 WL 1479729 (2d Cir. May 23, 2025); Roth
        v. LAL Fam. Corp. (“LAL Farm Corp. I”), 748 F. Supp. 3d 180 (S.D.N.Y.
        2024), aﬀ’d sub nom LAL Fam. Corp. II, 2025 WL 1479729; Roth ex rel.
        Altice USA, Inc. v. Drahi, No. 23-CV-5522, 2024 WL 4198517
        (E.D.N.Y. Sept. 16, 2024), aﬀ’d sub nom. LAL Fam. Corp. II, 2025 WL
        1479729; Roth v. CK Amarillo LP, No. 24-CV-0706, 2025 WL 966793
        (S.D.N.Y. Mar. 30, 2025), appeal docketed, No. 25-1084 (2d Cir.
        Apr. 30, 2025). So do we. We hold that an issuer (or a shareholder
        on its behalf ) cannot, under section 16(b), recover proﬁts realized
        by a beneﬁcial owner, director, or oﬃcer where the issuer
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        repurchased its own stock on the open market. For that reason, we
        aﬃrm the dismissal of Roth’s section 16(b) claim.

                                              I.
              Austin Russell was the founder, chief executive oﬃcer, chair-
        man, and majority shareholder of Luminar, a publicly traded auto-
        motive technology company. The company had a seven member
                              1
        board of directors. All of the directors, save for Russell, were cer-
        tiﬁed as independent. The independent directors were selected
        through Luminar’s nominating and corporate governance commit-
        tee, whose members were also independent under the Securities
        and Exchange Commission’s regulations.
               In July 2021, Russell sold about 10.5 million shares of his Lu-
        minar stock at the average price of $21 per share. Less than six
        months later, in December 2021, Luminar repurchased about
        15 million shares of its own stock on the open market at the aver-
        age price of $15.45 per share. Luminar recorded the repurchased
                                    2
        shares as treasury stock.

        1
         Because the complaint “allege[d] violations of securities laws, we may . . .
        take judicial notice of relevant [Securities and Exchange Commission] filings.”
        Thompson v. RelationServe Media, Inc., 610 F.3d 628, 631 n.5 (11th Cir. 2010)
        (citing Bryant v. Avado Brands, Inc. 187 F.3d 1271, 1278 (11th Cir. 1999)).
        2
         Treasury stocks are “shares that have been issued as fully paid and have later
        been acquired by the corporation, but not retired or restored to the status of
        unissued shares.” 11 Fletcher Cyc. Corp. § 5080.80 (Sept. 2024 Update). “The
        only value of such shares inheres in the possibility that they might be sold
        again.” Richard A. Booth, Financing the Corporation § 6:15 (2022).
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              Roth, a Luminar shareholder, sent the company a letter de-
        manding that it sue Russell to recover $23 million in proﬁts that he
        claims Russell realized when Luminar repurchased its own stock.
        When the company refused, Roth sued Russell under section 16(b)
        “to obtain disgorgement of proﬁts realized by” Russell in violation
                          3
        of the statute.
                Roth alleged that Luminar could recover Russell’s proﬁts be-
        cause Russell sold shares of the company and Luminar repurchased
        shares of the company on the open market less than six months
        later. Russell, Roth alleged, had an indirect pecuniary interest in
        28.3 percent of the repurchased shares based on his ownership in-
        terest in Luminar. Thus, according to Roth, Russell proﬁted “to the
        extent of his pecuniary interest” in the transactions to the tune of
        $23 million.
               Russell moved to dismiss the complaint for failure to state a
        claim, arguing that under section 16(b) an issuer (or a shareholder
        on its behalf ) cannot recover the proﬁts realized by the beneﬁcial
        owner, director, or oﬃcer from the repurchase of the issuer’s own
        stock. The district court agreed and granted Russell’s motion. Sec-
        tion 16(b), the district court explained, “distinguishes between the”
        beneﬁcial owner, director, or oﬃcer “who can be liable under the
        statute and the company issuing the stock, which cannot be liable,

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          This suit is one of several that Roth brought on behalf of various issuers
        against beneficial owners, directors, and officers under section 16(b) for issuer
        stock repurchases. See, e.g., LAL Fam. Corp. I, 748 F. Supp. 3d at 180; Drahi,
        2024 WL 4198517, at *1; CK Amarillo LP, 2025 WL 966793, at *1.
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        and that the statute predicates liability on trades conducted by the”
                                                                              4
        beneﬁcial owners, directors, or oﬃcers, “not the company.” Roth
        appeals the dismissal of his complaint.

                                              II.
               “We review de novo [a] district court’s” dismissal “for failure
        to state a claim.” Am. Dental Ass’n v. Cigna Corp., 605 F.3d 1283, 1288
        (11th Cir. 2010) (quotation and emphasis omitted).

                                             III.
               In reviewing the dismissal de novo, we address the same
        question the district court did—whether the issuer (or a share-
        holder on its behalf) may recover, under section 16(b), the profits
        realized from the issuer’s repurchase of its own stock on the open
        market. Like the district court, we conclude that the answer is no.
        Section 16(b)’s text tells us so. And so does the regulatory guidance
        from the Commission.
                                              A.
               We begin, as we always do, with the text. See Ross v. Blake,
        578 U.S. 632, 638 (2016) (“Statutory interpretation, as we always
        say, begins with the text.”). Unlike other provisions of the Securi-
        ties Exchange Act, section 16(b) is unique in that it imposes strict


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         Every other federal court that has considered Roth’s section 16(b) claim has
        also rejected it. See, e.g., LAL Fam. Corp. II, 2025 WL 1479729 at *8; LAL Fam.
        Corp. I, 748 F. Supp. 3d at 195; Drahi, 2024 WL 4198517, at *5; CK Amarillo LP,
        2025 WL 966793, at *3.
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        liability for violating its terms. Compare 15 U.S.C. § 78p(b) (stating
        that liability obtains “irrespective” of intent), with 15 U.S.C.
        § 78(2)(b) (stating that liability only obtains to “knowing or inten-
        tional misconduct). Scienter is not required. See id.
               This unique feature of section 16(b) is reflected in the “irre-
        spective” clause. See id. The “irrespective” clause says that “the
        issuer” (or a shareholder on its behalf) may recover the profits re-
        alized by the “beneficial owner, director, or officer” from a sale and
        purchase “irrespective of any intention on the part of such benefi-
        cial owner, director, or officer in entering into such transaction.” Id.
        (emphasis added). Section 16(b), that is, removes intent—and im-
        poses strict liability—only where the “beneficial owner, director,
        or officer . . . enter[s] into such transaction.” Id. And “such trans-
        action” is the “sale and purchase, of any equity security.” Id.
                Read together, section 16(b) allows an issuer (or a share-
        holder on its behalf) to recover profits realized where a beneficial
        owner, director, or officer is the one who “enter[s] into” the sale
        and purchase. See id.; see also Popkin v. Dingman, 366 F. Supp. 534,
        537–38 (S.D.N.Y. 1973) (“Ordinary purchases and sales have always
        been understood to be those enacted by the insider. . . . [I]n every in-
        stance the individual held liable must have performed acts, by him-
        self or through his alter ego, constituting the actual acquisition and
        disposition of securities.” (emphasis added)). At the same time, the
        “irrespective” clause does not authorize strict liability where the
        issuer enters into the sale and purchase. Cf. In re Wild, 994 F.3d
        1244, 1255 (11th Cir. 2021) (en banc) (“[T]he Supreme Court
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        observed that ‘[t]he express provision of one method of enforcing
        a substantive rule suggests that Congress intended to preclude oth-
        ers.’” (quoting Alexander v. Sandoval, 532 U.S. 275, 290 (2001)).
                That’s the case here. Roth’s claim seeks to recover profits
        under section 16(b) where the issuer, Luminar, purchased the
        stock—not the beneficial owner, director, or officer. But the “irre-
        spective” clause removes intent—and imposes strict liability—only
        where the “beneficial owner, director, or officer . . . enter[s] into”
        the sale and purchase of stock. 15 U.S.C. § 78p(b); cf. Foremost-
        McKesson, Inc. Provident Sec. Co., 423 U.S. 232, 251 (1976) (explaining
        that because section 16(b) “imposes liability without fault within its
        narrowly drawn limits . . . [i]t is inappropriate to reach the harsh
        result of imposing [section] 16(b)’s liability without fault on the ba-
        sis of unclear language” and “[i]f Congress wishes to impose such
        liability, we must assume it will do so expressly or by unmistakable
        reference”); LAL Fam. Corp. II, 2025 WL 1479729, at *8 (“[S]ince
        there are insiders without knowledge of stock repurchases, Roth
        would make [s]ection 16(b) a trap sprung with every transaction.
        This harsh result cannot be what Congress intended.”).
                                          B.
                Roth doesn’t really contest that the “irrespective” clause—
        and thus, strict liability—only applies where the “beneﬁcial owner,
        director, or oﬃcer” is the one who “enter[s] into” the transactions
        to sell and purchase stock. See id. Instead, he points to the Com-
        mission’s regulations to argue that an issuer (or a shareholder on its
        behalf ) can recover proﬁts realized by the beneﬁcial owner,
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        director, or oﬃcer where the issuer repurchases its own shares. But
        the Commission’s regulations are clear that issuer stock repur-
                                                        5
        chases are not covered by section 16(b).
               First, the Commission’s rules have excepted issuer stock re-
        purchases from section 16(b)’s reach since the 1930’s. See 17 C.F.R.
        § 240.16a-4(d) (1938). For example, before 1991, rule 16a-4(c) pro-
        vided that “[s]ecurities reacquired by or for the account of an issuer
        and held by it for its account shall be exempt from sections 16(a)
        and 16(b) during the time they are held by the issuer.” See id.
        § 240.16a-4(c) (1990).
               Although rule 16a-4(c) was repealed in 1991, the Commis-
        sion explained that it did so because “transactions by the issuer are
        not subject to [s]ection 16 since the issuer is the beneﬁciary of the
        short-swing proﬁt provision.” Ownership Reps. & Trading by Of-
        ﬁcers, Dirs. & Principal Sec. Holders, 56 Fed. Reg. 7242, 7263
        (Feb. 21, 1991). Indeed, it would “lead[] to the awkward result of
        allowing an issuer to pursue disgorgement for proﬁts that [the ben-
        eﬁcial owner, director, or oﬃcer] realize[s] as an approximate result
        of the issuer’s own conduct.” LAL Fam. Corp. I, 748 F. Supp. 3d at
        191. Thus, according to the Commission, “no exemption [wa]s



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          While the parties refer to various pre-Loper Bright Enterprises v. Raimondo, 603
        U.S. 369 (2024) cases in supporting their positions, neither party has suggested
        that any of the Commission’s regulations that could potentially affect the ap-
        plication of section 16(b) are invalid. This case accordingly presents no occa-
        sion to consider the matter, and we express no view therein.
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        necessary.” Ownership Reps. & Trading by Oﬃcers, Dirs. & Prin-
        cipal Sec. Holders, 56 Fed. Reg. at 7263.
                Second, the Commission has explained that issuer stock re-
        purchases are not subject to section 16(b) because they are not cov-
        ered by the reporting requirements under section 16(a). Section
        16(b) is closely “interrelated with the congressionally created re-
        porting requirements of [section] 16(a).” Whittaker v. Whittaker
        Corp., 639 F.2d 516, 530 (9th Cir. 1981), abrogated on other grounds by
        Credit Suisse Secs. (USA) LLC v. Simmonds, 566 U.S. 221 (2012). Sec-
        tion 16(a) “provides a mechanism for facilitating the recovery of
        short-swing proﬁts” under section 16(b) “by requiring [beneﬁcial
        owners, directors, or oﬃcers] to disclose any change in ownership.”
        Tristar Corp. v. Freitas, 84 F.3d 550, 553 (2d Cir. 1996). For that rea-
        son, “the scope and deﬁnition of . . . beneﬁcial owner for [section]
        16(b) has been determined by reference to [section] 16(a).” Whit-
        taker, 639 F.2d at 525 (collecting cases).
                Because of the relationship between the reporting require-
        ments of section 16(a) and the strict liability provisions of section
        16(b), the Commission “has used its power to grant exemptions un-
        der [section] 16(b) to exclude from liability any transaction that
        does not fall within the reporting requirements of [section] 16(a).”
        Reliance Elec. Co. v. Emerson Elec. Co., 404 U.S. 418, 426 (1972). Put
        another way, “any event that triggers liability under [section] 16(b)
        must ﬁrst be a reportable event under [section] 16(a).” Strom v.
        United States, 641 F.3d 1051, 1062 (9th Cir. 2011).
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               The interrelated nature of section 16(a) and section 16(b) is
        reﬂected in rule 16a-10. There, the Commission explained that
        “any transaction exempted from the reporting requirements of
        [section] 16(a)” is “exempted from” liability under “section 16(b).”
        17 C.F.R. § 240.16a-10. This is important here because issuer stock
        repurchases—like Luminar’s in December 2021—are not reporta-
        ble events under the Commission’s regulations, which means they
        are excluded from liability under section 16(b). See 15 U.S.C. § 78p;
        17 C.F.R. §§ 240.16a-3, 240.16a-10; see also LAL Fam. Corp. II, 2025
        WL 1479729, at *3 (“Share repurchases are now a trillion-dollar
        practice yearly; yet, insiders have never disclosed them. If every
        insider has failed to comply with [s]ection 16, it is odd that until
        now no one has noticed.”).
               Third, while rule 16a-1(a)(2) defines beneficial ownership as
        “a direct or indirect pecuniary interest in the equity securities,”
        17 C.F.R. § 240.16a-1(a)(2) (emphasis added), Russell does not have
        an interest—direct or indirect—in Luminar’s repurchased shares.
        The repurchased shares are held by Luminar, which is a separate
        corporate entity.
               It is “[a] basic tenet of American corporate law . . . that [a]
        corporation and its shareholders are distinct entities.” Dole Food Co.
        v. Patrickson, 538 U.S. 468, 474, (2003); see also Molinos Valle Del
        Cibao, C. por A. v. Lama, 633 F.3d 1330, 1349 (11th Cir. 2011) (“A
        corporation is a legal entity—a fictional person—capable of enter-
        ing contracts and doing business in its own right.”). “The few cases
        that have considered attribution of a corporation’s investments” to
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        a beneficial owner, director, or officer “have been limited to the
        specialized situation where the corporation was the investment ve-
        hicle or alter ego of the individual.” See Popkin, 366 F. Supp. at 539–
        40 (collecting cases).
             Here, Roth has not alleged that Luminar was Russell’s in-
        vestment vehicle or alter ego. That failure is fatal to his ability to
                                                                     6
        attribute Luminar’s corporate investments to Russell. Cf. Molinos
        Valle Del Cibao, 633 F.3d at 1349 (“[T]o pierce the corporate veil—
        the plaintiff must prove that: (1) the shareholder dominated and
        controlled the corporation to such an extent that the corporation’s
        independent existence, was in fact non-existent and the sharehold-
        ers were in fact alter egos of the corporation; (2) the corporate form
        must have been used fraudulently or for an improper purpose; and
        (3) the fraudulent or improper use of the corporate form caused
        injury to the claimant.” (quotation and emphasis omitted)).
                                            C.
               Although the Commission’s regulations do not allow an is-
        suer (or a shareholder on its behalf ) to recover proﬁts realized from
        the issuer’s repurchase of its own stock on the open market, Roth
        argues that the amicus brief the Commission ﬁled in Feder v. Frost,
        220 F.3d 29 (2d Cir. 2000), does. Roth reads the Feder amicus brief
        as taking the position that issuer stock repurchases are attributed


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         Because Roth did not allege that Luminar was Russell’s alter ego or invest-
        ment vehicle, we leave for another day the question whether that might sub-
        ject a beneficial owner, director, or officer to section 16(b) liability.
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        to controlling shareholders (like Russell). But, for two reasons, the
        Feder amicus brief is as unhelpful to Roth as the text of section 16(b)
        and the Commission’s regulations.
               First, Roth oﬀers the Feder amicus brief as the Commission’s
        deﬁnitive interpretation of its regulations. But, in Kisor v. Wilkie,
        588 U.S. 558 (2019), the Supreme Court held that, before aﬀording
        deference to an agency’s interpretations of its regulations, courts
        must apply a three-step framework. Id. at 574–75. At the ﬁrst
        step—the only one that matters here—courts “should not aﬀord”
        deference unless, after “exhaust[ing] all the traditional tools of con-
        struction,” the “regulation is genuinely ambiguous.” Id. (quotation
        omitted). “[I]f the law gives an answer—if there is only one rea-
        sonable construction of a regulation—then a court has no business
        deferring to any other reading[.]” Id. at 575.
               Here, at the ﬁrst step, Roth conceded that the Commission’s
        regulations were not ambiguous. Roth told the district court the
        Commission’s rules for section 16(b) were “plain and unambigu-
        ous.” As we explained above, we agree. The Commission’s regu-
        lations unambiguously provide that issuer stock repurchases are
        not covered by section 16(b).
                Second, the Feder amicus brief does not help Roth because it
        did not involve the same issue that our case presents. See Talk Am.,
        Inc. v. Mich. Bell Tel. Co., 564 U.S. 50, 59 (2011) (explaining that we
        do not defer to an agency’s interpretation of its regulations when
        there is “reason to suspect that the interpretation does not reﬂect
        the agency’s fair and considered judgment on the matter in question”
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        (emphasis added, quotation omitted)). In Feder, a beneﬁcial owner
        of a company purchased shares of that company through a shell
        company that he wholly controlled as his alter ego. 220 F.3d at 30–
        31. Then, the beneﬁcial owner sold the shares through a diﬀerent
        shell company that he also controlled as his alter ego. Id. at 31.
                That set of facts, which the Feder amicus brief addressed, did
        not include issuer stock repurchases, which is what we have here.
        See LAL Fam. Corp. II., 2025 WL 1479729, at *5 (“In Feder, we
        acknowledged that . . . a shareholder does . . . have at least an indi-
        rect pecuniary interest in portfolio securities . . . [b]ut portfolio se-
        curities are securities owned by an entity, other than securities issued
        by the entity.”); LAL Fam. Corp. I, 748 F. Supp. 3d at 194 (“Feder, how-
        ever, did not involve the fact pattern presented here of an issuer—
        as opposed to some other company controlled by the insider—al-
        legedly having executed the matching short-swing trades.”). Put
        simply, the Commission didn’t opine on the question we have in
        this case, and thus, we owe the Feder amicus brief no deference. See
        Talk Am., 564 U.S. at 59.

                                          IV.
               For these reasons, we join every other federal court that has
        addressed Roth’s claim in holding that section 16(b) does not allow
        the issuer (or a shareholder on its behalf ) to recover proﬁts realized
        by a beneﬁcial owner, director, or oﬃcer from the issuer’s repur-
        chase of its own stock on the open market. We aﬃrm the dismissal
        of Roth’s complaint.
               AFFIRMED.
